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                          CRAIG               i.iPL/             Pro se
                                       263906 POE 2300
                                      NEiAR.K,      NJ 071 1 4




                                       AUGUST 13,       2019




Ti-iE NON   PETER G           SEL.RIDAN,     USDJ

UNITED STATES DISTRCIT COUiI
402 EAST STATE STREET
TRENTON, NJ 03603


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        •   Z)i          J.    Lir.Li.LL\



      DISBURSEMENT OF $7,500
      SETTLEMENT ANE N-IY IT LIEN’ T
      3ND7 UP IN TEE IN FOf NA PAERIS
      APPLICATION IN i9i2746                      (PGSZZA)



DEAR JUDGE         ERIEAN:


                                    t3.           .t    : E          se
      Per yo.r order
                                ude tre 3ett1eent amount in
exlanation of nhy I didn’t incl
iay apiicaticn          for ft              aaueris jfl SZENPLZ: v RUTGERS

UNIVERSITY1       CIVIL ACTION NO                  19 12743(PGSDA)


                                     as I exlanec to my Court
                  Ion; stated intentions
      Per   iuy
                               LEP namely Stephen Oriofsky
aointed counsel, Blank Ro.me
                                desire and full intentions
Esc (Ret USDJ) that it ias y
                               proceeds from any settlement
to order COunsel to direct tne
                                  cfi oreJ end iven to CfMRIfY
or jury verdict award, er to be
                                         :NESZ  ‘JDA3 IC; END
I DID NOT NANT ANY OF THE
 UP IN MY INNATE ACCOUT


                                            chcoin,       were to include different
       The charibies,
 religions,       different causes,               even different individuals in
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need,    but all done,    with the explicit puroose of helping those
who really need help,       and the7 are; ie Jewish groups,
Episcopalian Divinity school graduates           A disabled Presbyterian
wjdow who is supporting african emigre’famiiy that live with
her now,    Roman Catholic Nuns at the Felician convent in Lodi,
NJ,   and a blind and disabled Jewish Female parolee’s in
California to name a few,


        To help cover the oostage costs,      legal ohone call costs
(the northern state law library charges inmates $569 To call
the court in Trenton—on 3/13/2019 I called the Court 2X on the
same day and this came to $11.38-on 1/16/2019 the phone charge
was duplicated for the same amount $1L38)           plus copy costs,
administrative costs2       in prosecuting this case,     a check was
distributed by Blank Rome,        LLP for $100 dollars,    to me here
at the prison        The 100 dollar check2   after it was taxed by the
prison,    for fines,    adminstrative fee’s,    was reduced substantially
and when I spent the money another 10%          was deducted from the
original 100 dollars.
        The $100 dollars that as deducted frot. the settlement
was spent with nothing remaining after the costs were deducted.


        Therefore,    there was          to report as income received
on the in forma pauperis application,        that I filed along with
the complaint that I submitted to the court,


        The medical costs that I am charoed for-- $5 00 dollars
everytime I am seen by a health care nurse/doctor           $1.00 for
every prescription I am given,       and I have 22 different med’s
THAT I TAKE EVERYDAY


        In conclusion,    there was no misrepresentation of facts
in my application,       and while the disbursement of settlement
funds for and in the name of charity might seem unusual, because
orisoners are stigmatized as being seifish           greedy and
uncharitable to anyone but themselves,          it was indeed done.
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     Therefore your honor      I ou1ó. respectfully recjuest that
ny civil action, SZEt4PLE v :UTGERSE     docket nos,    1912746

(PGS-DEA) BE ALLOWED TO PROCEED AND TO BE PROSECUTED


     Thank you for your consideration of niy pro cc ansger to
the Courts request for a iritten statement in this matter.




     Most Resoectfully yours




     CRAIG SZ     LE
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